Case 6:06-cr-00022-ACC-LRH Document 133 Filed 01/24/22 Page 1 of 4 PagelD 508

 

022 yy
UNITED STATES DISTRICT COURT oH 24 py
MIDDLE DISTRICT OF FLORIDA — a SG
ORLANDO DIVISION uence ley
UNITED STATES OF AMERICA,
v. . Case No. 6:06-cr-22-ACC-LRH

JASON E. MADOW,

 

Defendant,
_ and

HOMEOWNERS ADVANTAGE,

Garnishee.

ANSWER OF GARNISHEE

y_Cheryl Beal , pursuant to 28 U.S.C. § 1746(b)(2), hereby certify
the following:

Iam __ Human Resouce Generalist [title] of the Garnishee, HomeOwners

 

Advantage. On __ 1/18/2022 [date], the Garnishee was served with the Writ of
Garnishment issued in the above-captioned case.

The Garnishee has custody, control or possession of the following property in
which the defendant maintains an interest, as described below:

1, Garnishee has contracted with or employed the Defendant from

 

3/4/2019 t, 7/6/2020

2. . Judgment debtor’s pay period is:

 
Case 6:06-cr-00022-ACC-LRH Document 133 Filed 01/24/22 Page 2 of 4 PagelD 509

[__] weekly, [__} bi-weekly, [__] semi-monthly, [__] monthly,

 

 

other: .
The current pay period began and ends

3. Enter amounts for the current pay period to calculate garnishment:
(a) Gross Earnings! $

(b) Less deductions required by law:

Federal Income Tax $
F.I.C.A. $
State Income Tax $

City/Local Income Tax $§
Total of tax withholdings $
(c) Disposable Earnings $ (a) less total of (b)

75% of Disposable Earnings $ (exempt pay to
Defendant)

(d) Non-exempt disposable earnings required to be withheld is the
lesser of:

25% of disposable earnings $ or

 

Disposable earnings less $217.50 = $  (c) less
(30x $7.25)

 

1 “Rarnings” means compensation paid or payable for personal services, whether denominated as
wages, salary, commission, bonus, or otherwise, and includes periodic payments to a pension or
retirement program. “Disposable earnings” means that part of earnings remaining after all
deductions required by law have been withheld. “Nonexempt disposable earnings” means 25 percent
of disposable earnings. 28 U.S.C. §§ 3002(5)-(6) and (9).

2 Under federal law, 18 U.S.C. § 3613(a)(3) and 15 U.S.C. § 1673, the maximum subject to
garnishment is 25% of disposable earnings for a week or the amount by which disposable earnings
for a week exceed 30 times the federal minimum hourly wage.

Answer of Garnishee — Page 2

 
Case 6:06-cr-00022-ACC-LRH Document 133 Filed 01/24/22 Page 3 of 4 PagelD 510

DO NOT DISBURSE WITHHOLDINGS UNTIL FURTHER COURT ORDER.
NOTE: FEDERAL LAW DOES NOT PROVIDE FOR A FEE FOR THE
EMPLOYER.

4. Have there been previous garnishments in effect for the defendant,
including but not limited to child support and alimony.
O NO.

[1 ‘YES. Please explain, include case number, state, county:

N/A - NO LONGER AN EMPLOYEE OF HOMEOWNERS ADVANTAGE

 

 

5. Garnishee has in its possession or under its control the following

property other than earnings with the Defendant has an interest:__N/A

 

6. Check the applicable fine below if you deny that you hold property
subject to this Writ of Garnishment.
O Garnishee makes the following claim of exemption on the part of
defendant:

N/A - NO LONGER AN EMPLOYEE

 

 

1 Or, Garnishee hac the follawing ahiections | defenses ar set-offs to the

government’s right to apply garnishee’s indebtedness to the defendant
Answer of Garnishee — Page 3

 
Case 6:06-cr-00022-ACC-LRH Document 133 Filed 01/24/22 Page 4 of 4 PagelD 511

 

upon the government’s claim:

 

 

Garnishee has in no manner and upon no account been indebted or
under liability to the defendant, and that the garnishee has not
possessed or controlled any property belonging to the defendant.

Pursuant to 28 U.S.C. § 1746(2), I declare under penalty of perjury that the

foregoing is true and correct.

\

EXECUTED THIS __18TH_ = DAY OF _JANUARY, 2022,

2019.

Cheryt Beat

HOMEOWERS ADVANTAGE

 

Answer of Garnishee — Page 4

 
